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                 IN THE UNITED STATES JUDICIAL DISTRICT COURT
                           FOR THE DISTRICT OF UTAH


KANE COUNTY, UTAH (2), (3) and (4),
a Utah political subdivision; and STATE OF    ORDER GRANTING MOTION TO
UTAH,                                        EXTEND TIME FOR PLAINTIFFS TO
                                               FILE MOTION FOR PARTIAL
       Plaintiffs,                               SUMMARY JUDGMENT
v.

UNITED STATES OF AMERICA,                       Case No. 2:11-cv-1045
       Defendant,                               Case No. 2:10-cv-1073,
                                                      Consolidated with:
SOUTHERN UTAH WILDERNESS                              Case No. 2:11-cv-1031
ALLIANCE, et al.,                                     Case No. 2:12-cv-476

       Intervenor-Defendants.
                                                Judge Clark Waddoups


GARFIELD COUNTY (1) AND (2), a Utah
political subdivision; and STATE OF UTAH,
       Plaintiffs,
v.

UNITED STATES OF AMERICA,

       Defendant,

SOUTHERN UTAH WILDERNESS
ALLIANCE, et al.,

       Intervenor-Defendants.
Case 2:10-cv-01073-CW Document 823 Filed 10/30/24 PageID.17696 Page 2 of 2




       Having considered Garfield County, Utah and the State of Utah’s (“Plaintiffs”) Motion to

Extend Time for Plaintiffs to File Motion for Partial Summary Judgment on G9000 – Hole in the

Rock Road, and with good cause appearing, it is hereby ORDERED that the motion is GRANTED.

       1. State of Utah and Garfield County, Utah shall file their motion(s) on or before

           December 13, 2024;

       2. United States shall file its opposition memoranda on or before March 14, 2025;

       3. State of Utah and Garfield County, Utah shall file their reply brief(s) on or

           before April 4, 2025.

This modified briefing schedule also applies to and extends the deadlines for filing opposition and

reply briefs on the K6000 House Rock Valley Road by the United States; Kane County, Utah; and

the State of Utah.

       SO ORDERED this 29th day of October 2024.



                                             BY THE COURT:


                                             _________________________________________
                                             Clark Waddoups
                                             United States District Judge




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